                                                                              SIGNED.


                                                                              Dated: August 29, 2023




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                                                                              Eddward P. Ballinger Jr., Chief Bankruptcy Judge
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 5                             UNITED STATES BANKRUPTCY COURT
 6                                   DISTRICT OF ARIZONA
 7
      In re:                                                        Chapter: 7
 8

 9    HOME OPPORTUNITY, LLC                                         Case No. 2:21-bk-4924-EPB

10                                                                 Adversary No. 2:22-ap-200-EPB
                                                      Debtor.
11

12                                                                         ORDER SETTING VIDEO
                                                                        MEDIATION AND ESTABLISHING
13
                                                                               PROCEDURES
14
                                                                     Date:      SEPTEMBER 22, 2023
15    ROBERT MACKENZIE,
                                                     Plaintiff,      Time:       10:00 A.M.
16
                                 v.
                                                                     Location: Zoom for Government
17                                                                             Videoconference.1
      AMERICAN HOMES 4 RENT TRS, LLC,
18
                                                  Defendant.
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21             A mediation in the above referenced case is currently set for September 22, 2023, at 10:00

22   a.m., before the Honorable Redfield T. Baum. In accordance with General Order No. 21-1 dated

23   May 25, 2021, and this Order, the mediation will be conducted via videoconference using the

24   Zoom for Government videoconferencing platform. Participants will not be physically present

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                The Court holds the necessary Zoom for Government licenses. Lawyers and witnesses do not need to
26   purchase Zoom software or a license to participate in mediation. There is no fee to participate, however it is possible
     that regular telephone toll charges may apply if the Zoom audio platform is accessed by phone.


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 1   in the courtroom.    The COVID-19 public health emergency constitutes good cause and

 2   compelling circumstances for holding the mediation by videoconference. This Court has been

 3   informed that Zoom for Government provides appropriate safeguards for the parties. It is this

 4   Court’s intent to provide further safeguards through this Order.

 5          Unless modified by the Court, the provisions of this Order will govern the course of

 6   proceedings:

 7          1. Participation by Videoconference with Zoom for Government.

 8          All parties involved in this matter must appear at the mediation by Zoom for Government

 9   videoconference. For a successful experience, each participant should be familiar with and

10   follow the guidance found at the U.S. Bankruptcy Court’s Videoconference Hearing Guidelines

11   found at:

12                  http://azb.uscourts.gov/sites/default/files/videoconferenceguidelines.pdf

13                  a. Connecting to Zoom. The following link or URL (internet address) will allow

14          you to participate in the mediation:

15          https://www.zoomgov.com/j/1602653792?pwd=cngvTEJUNVMzSTFJSTRHVCtrZVRYQT09

16          Parties must click on the link (or paste the URL into the computer’s browser and hit

17          “Enter”) and then follow the instructions.

18                                     Meeting ID: 160 265 3792

19                                         Password: 993077

20                  b. Required Equipment. Zoom permits access to the video portion via electronic

21          device with internet access or by computer and access to the audio portion via either

22          electronic device with internet access or by computer and or by telephone.

23                         i. Video. To use the video portion of Zoom, each parties must have an

24                  electronic device equipped with (a) a camera capable of sending and receiving

25                  video using Zoom; (b) internet browsing software that will accommodate Zoom;

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 1                  and (c) a stable internet connection and bandwidth sufficient to support Zoom. It

 2                  is not necessary to download and install Zoom software.

 3                         ii. Audio. To use the audio portion of Zoom, each participant must have

 4                  either (a) an electronic device equipped with a microphone and speakers or (b) a

 5                  telephone. If the telephone is a cellular phone, the participant must be in a location

 6                  with service adequate to provide clear audio.

 7          2. Position Papers.

 8          Confidential position papers are due by September 12, 2023, and are to be emailed to

 9   Courtroom Deputy Dawn Saucier (dawn_saucier@azb.uscourts.gov). The parties are reminded

10   that each side must have someone present with settlement authority to resolve the matter.

11          3. Courtroom Formalities.

12           Though held remotely by videoconference, the mediation conference constitutes a

13   judicial proceeding. Any recording of a Court proceeding held by video, including “screen-

14   shots” or other visual copying of a hearing, is absolutely prohibited. No one except the assigned

15   Electronic Court Recorder or another person that the Court directs may record the audio or video

16   of the hearing.    Formalities of a courtroom will be observed.           Participants must dress

17   appropriately and must conduct themselves in a professional manner.             Violation of these

18   prohibitions/admonitions may result in sanctions deemed necessary by the Court.

19                                  SIGNED AND DATED ABOVE.

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